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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION



  GEORGE WEST,
  ROBERT JONES, and
  BRADY FULLER, on behalf of themselves
  and all others similarly situated,

                                     Plaintiffs,        Civil Action No. 16-cv-309
                       v.                               Jury Trial Demanded
  CITY OF SANTA FE, TEXAS;
  CARLTON GETTY, Municipal Judge, in his
  individual capacity; and
  JEFFREY POWELL, Chief of Police, in his
  official capacity;

                                     Defendants.




                            CLASS ACTION COMPLAINT

       1.     The City of Santa Fe is running a modern-day debtors’ prison, prioritizing

raising revenue for the City over administering justice fairly. Those with means pay a one-

time fine for common offenses like traffic tickets. But those who cannot afford to pay

upfront—the disabled man on a fixed income, the young veteran who just started a small

business, the blue-collar worker supporting his family—are trapped in a maze of escalating

fines and fees that can take years to pay off. Anyone who falls behind faces imprisonment
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in unconscionable conditions without the opportunity to see a judge or explain the

circumstances that prevent payment.

       2.     City officials have colluded on this unconstitutional two-tiered system of

justice. The City and the Municipal Judge agreed to raise the cost of traffic and other

misdemeanor fines to boost revenue. The City then uses multiple constitutional

violations as leverage to extract payments from local residents, tacking on further fines

and fees at every opportunity. Although traffic violations are, by law, not jailable

offenses, police officers regularly jail people who fail to pay their fines without giving

them access to a lawyer or the chance to mount a legal defense. Officers do not afford

them the opportunity to see a judge for the constitutionally mandated hearing on their

ability to pay. The police chief intentionally makes jail intolerable, giving the people he

detains too little food to eat and depriving them of medical care.

       3.     Plaintiffs George West and Robert Jones are caught in this maze—unable

to afford to pay their outstanding fines to the City of Santa Fe and unable to seek relief

from the judge. There is a high risk that Santa Fe police officers will arrest and jail Mr.

West and Mr. Jones in violation of their right to due process, right to equal protection,

right to counsel, and right against cruel and unusual punishment. They seek declaratory

and injunctive relief protecting themselves and all other similarly situated people from

violation of their constitutional rights.

       4.     Plaintiff Brady Fuller has already been jailed by the City of Santa Fe

because he could not afford to pay his fine. The City jailed him in violation of his right to

due process, his right to equal protection, his right to counsel, and his right against cruel


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and unusual punishment. He seeks damages on behalf of himself and all other similarly

situated people whom the City has already jailed.

                              JURISDICTION AND VENUE

       5.      This is a civil rights action arising under 42 U.S.C. § 1983 (civil action for

deprivation of rights) and 28 U.S.C. §§ 2201–2202 (declaratory judgments). This Court

has jurisdiction under 28 U.S.C. § 1331 (federal question jurisdiction) and § 1343 (civil

rights jurisdiction).

       6.      Venue in this district is proper under 28 U.S.C. § 1391(b)(1), because the

City of Santa Fe resides in this district, and under § 1391(b)(2), because a substantial part

of the events giving rise to the Plaintiffs’ claims occurred in this district.

                                          PARTIES

I.     There is a High Risk That the City of Santa Fe Will Jail George West

       7.      Plaintiff George West is a fifty-seven-year-old resident of La Marque,

Texas. He used to own a trailer house in Hitchcock, but he was evicted from his lot

because he didn’t have enough money to pay his rent. He receives mail at his aunt’s

home in La Marque. Otherwise, he stores his belongings in his pickup truck and he does

not have a fixed residence.

       8.      Mr. West has lived near or below the federal poverty line since he was

released from prison for drug possession more than ten years ago. Mr. West’s financial

situation has only gotten worse in recent years. He has found honest work in scrap metal

salvage and as a day laborer since he was released from prison. But serious repetitive

motion injuries from this work, as well as worsening rheumatoid arthritis, keep Mr. West


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from working like he used to. Mr. West’s arthritis has gotten so bad that he was recently

approved for a social security disability benefit.

       9.     When Mr. West was released from prison, he could not obtain a valid

Texas driver’s license, because he owed surcharges for old traffic tickets to the

Department of Public Safety. Yet he needed to drive to make money to pay his tickets.

Between his surcharges, child support obligations, new tickets for driving without a valid

license, and basic living expenses, Mr. West has not been able to work his way out of

debt since he was released from prison.

       10.    These were the financial circumstances Mr. West faced when a Santa Fe

police officer pulled him over many years ago.

       11.    Mr. West is Black. He generally goes out of his way to avoid driving

through Santa Fe. But in 2005, Mr. West drove through Santa Fe after leaving a

scrapyard. He stopped at a stoplight with a Santa Fe police officer facing in the opposite

direction, in the lane of oncoming traffic. When the light turned green, the officer

immediately made a U-turn, got behind Mr. West, and turned on his lights.

       12.    The officer claimed to be stopping Mr. West for broken brake lights.

       13.    The officer wrote Mr. West tickets for four offenses: expired registration,

open container, no driver’s license, and no insurance. The open container was a beer can

that a friend had brought into in the car; Mr. West had not been drinking that day. Mr.

West had committed the remaining offenses due to his poverty.

       14.    Because of Mr. West’s poverty offenses, the total fines for this single police

encounter came up to over $600. As opposed to other people, who could write a check to


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resolve their cases, Mr. West could not afford to pay these fines. Court clerks put Mr.

West on the track to jail when they issued a warrant for his arrest.

       15.     Once a warrant issued, the Municipal Court refused to allow Mr. West to

clear his warrants or see a judge unless he paid a cash bond for the total cost of his

fines—now over $1100—which he could not afford to do.

       16.     Mr. West tried to find a way to appear in court and get back on track to a

valid driver’s license without paying the full cash bond. He paid $65 for an attorney to

help him appear in court and clear the warrants for all of his tickets.

       17.     When Mr. West appeared in Santa Fe Municipal Court and pled no contest,

the Municipal Judge sentenced him to an $1137 fine and ordered him to pay it within

sixty days. The judge did not ask any questions about Mr. West’s ability to pay or discuss

alternatives to prompt payment in full. Mr. West had absolutely no prospect of coming up

with that amount of money, but the Municipal Court ordered him to pay anyway.

       18.     After Mr. West failed to pay $1137 within sixty days, court clerks issued

capias pro fine warrants for his arrest. After the clerks issued capias pro fine warrants, the

fees assessed against Mr. West more than doubled his initial fine. He now owes nearly

$1500 to the City of Santa Fe.

       19.     The Municipal Court now refuses to allow Mr. West to clear his warrants

unless he pays the total cost of his fines, nearly $1500, which he cannot afford to do. The

court will not allow Mr. West to set a court date to explain his inability to pay and ask for

an alternative to jail.




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       20.    Despite his best efforts, Mr. West cannot spare any money to pay toward

his fines. Mr. West wants a chance to serve a one-time penalty, just like someone who

could afford to write a check, and move on from this one traffic stop more than ten years

ago. At a minimum, he wants a chance to explain his financial situation to a judge before

he is jailed by the Santa Fe Police Department.

       21.    Mr. West must drive his truck around the Santa Fe area in order to buy food

and get to doctor’s appointments. Because the City of Santa Fe has reported Mr. West’s

outstanding fines to the Department of Public Safety, he cannot obtain a valid Texas

driver’s license. Mr. West is at high risk for being arrested and jailed by the Santa Fe

Police Department in violation of his right to due process, right to equal protection, and

right against cruel and unusual punishment.

II.    There is a High Risk That the City of Santa Fe Will Jail Robert Jones

       22.    Robert Jones is a twenty-four-year-old father, a small business owner, and a

lifelong resident of the Santa Fe area.

       23.    Mr. Jones enlisted in the Marine Corps shortly after graduating from high

school. He suffered an injury after basic training, and he was discharged for medical

reasons. Following his discharge in 2011, Mr. Jones has worked jobs in demolition,

custodial work, and fencing installation.

       24.    Mr. Jones and his family started a plumbing company a few months ago to

try to make ends meet. Business is slow, and Mr. Jones isn’t making enough to cover his

overhead. His household lives below the federal poverty line.




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         25.   Back in 2013, a Santa Fe police officer pulled Mr. Jones over. The officer

said that he had run Mr. Jones’s license plate, and a notice came back that there was no

insurance on the car. Mr. Jones did not have insurance. The officer wrote Mr. Jones a

ticket and told him to go home.

         26.   As opposed to other people, who could write a check to resolve their cases,

Mr. Jones could not afford to pay his ticket outright. He had recently started working at

Pioneer Waste Services, a demolition company, but he was still living near the poverty

line.

         27.   Mr. Jones appeared in Santa Fe Municipal Court on his court date, and he

was up front with the Municipal Judge that he had a low income. He knew he could not

afford the payments that the judge was ordering. The Municipal Judge considered jail to

be a foregone conclusion for someone who couldn’t afford to pay, and told Mr. Jones that

a warrant would issue for his arrest.

         28.   Mr. Jones circled “no contest” and signed his payment plan paperwork as

ordered. The Municipal Judge sentenced him to a fine.

         29.   Neither the judge nor anyone else asked Mr. Jones about his ability to pay.

         30.   Neither the judge nor anyone else advised Mr. Jones of his right to counsel.

Mr. Jones was not represented by counsel, nor did he waive his right to counsel.

         31.   The day after his court appearance, Mr. Jones asked his grandmother about

the best way to handle his unaffordable payments. His grandmother owned her own

cleaning company that cleaned the Police Department and Jail, so she was familiar with

the people who worked there. She advised him to call a woman named Sheryl who was


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responsible for issuing warrants. Mr. Jones called Sheryl and explained that he could not

afford his payments. Because Sheryl knew his grandmother, she agreed to refrain from

issuing a warrant.

       32.      Since receiving his ticket, Mr. Jones has worked various day labor jobs, but

he has always lived near or below the federal poverty line.

       33.      Mr. Jones’s grandmother died in November 2014, and Sheryl is no longer

the employee responsible for issuing warrants. The Santa Fe Municipal Court has issued

a capias pro fine warrant for Mr. Jones’s arrest, and his fine has climbed to $875.

       34.      The Municipal Court now refuses to allow Mr. Jones to clear his warrant

unless he pays the balance of his fine, which he cannot afford to do. The court will not

allow Mr. Jones to set a court date to explain his inability to pay and ask for an

alternative to jail.

       35.      Mr. Jones is afraid of being pulled over by the Santa Fe police. Mr. Jones

and his brothers are mixed-race, and they have had bad encounters with the Santa Fe

police in the past. His older brother in particular has been subject to excessive force on

more than one occasion; once, when Mr. Jones’s brother refused to stop laughing at an

officer for locking himself out of his car, the officer retaliated by tasing him just above

his heart. Mr. Jones wants to avoid interactions with the Santa Fe Police Department if at

all possible.

       36.      Despite his best efforts, Mr. Jones cannot spare any money to pay toward

his fine. Mr. Jones wants to pay a one-time penalty, just like someone who could afford

to write a check for his entire fine, and move on from driving with no insurance three


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years ago. At a minimum, he wants a chance to explain his financial situation to a judge

before he is jailed by the Santa Fe Police Department.

        37.   Mr. Jones has a newborn daughter. He must drive around the Santa Fe area

in order to buy food, get to doctor’s appointments, and get to jobs for his family’s

plumbing company. Mr. Jones is at high risk for being arrested and jailed by the Santa Fe

Police Department in violation of his right to due process, right to equal protection, and

right against cruel and unusual punishment.

III.    The City of Santa Fe Unconstitutionally Jailed Brady Fuller

        38.   Brady Fuller is a resident of Santa Fe, Texas. He lives with and supports his

wife and three daughters.

        39.   For at least the last two years, Mr. Fuller and his family have lived near or

below the federal poverty line. The older two daughters receive free lunches at school,

and the family has been on food stamps and Medicaid. The mother of Mr. Fuller’s oldest

daughter owes him many thousands of dollars in child support arrears.

        40.   Mr. Fuller has struggled with addiction to pain medication in the past. His

addiction began when a doctor prescribed pain medication for Mr. Fuller’s injuries from

an accident, including broken bones. Mr. Fuller has been clean for ten months, and he

attends Narcotics Anonymous meetings every other day.

        41.   In 2015, a Santa Fe police officer stopped Mr. Fuller while he was driving

through a school zone. Mr. Fuller had not been speeding, and in fact, he had been careful

to reduce his speed to the school zone limit. The officer nonetheless pulled Mr. Fuller




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over. The officer noticed that Mr. Fuller had an expired inspection sticker, and wrote him

a ticket for that.

        42.    As opposed to other people, who could write a check to resolve their cases,

Mr. Fuller could not afford to pay his fine outright.

        43.    Mr. Fuller checked into a one-month inpatient rehabilitation program after

he received his ticket. He was an inpatient during the court date for his traffic ticket.

        44.    When Mr. Fuller checked out of the rehabilitation program, a warrant had

not yet issued for his arrest. He asked the City Marshal about resetting his court date. The

City Marshal told Mr. Fuller a time when he would be able to come to court and speak

with the judge, and Mr. Fuller came to court.

        45.    The Municipal Judge told Mr. Fuller that he had been charged with failure

to appear, and Mr. Fuller was not allowed to contest the ticket. The judge required Mr.

Fuller to pay the full amount of the failure to appear ticket in order to get on a payment

plan.

        46.    Mr. Fuller made the payment, though he had been planning on using that

money to pay other bills, and the clerk handed him the papers to sign for his payment

plan. Mr. Fuller told the clerk that he could not afford the monthly payments listed on the

paper. The clerk told Mr. Fuller that if he missed a payment, a warrant would issue for his

arrest. Mr. Fuller said he would do his best to make the payments, but he wasn’t hopeful.

The clerk told Mr. Fuller that if he could not make his payments, once a warrant issued,

Santa Fe would jail him for failure to pay.




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        47.   Neither the Municipal Judge nor the clerk advised Mr. Fuller that, by

signing the papers for a payment plan, he was pleading to criminal charges. Mr. Fuller

felt that he had no alternative to signing the papers. He circled “no contest,” but no one

explained what that meant. The judge sentenced Mr. Fuller to a fine.

        48.   Neither the Municipal Judge nor the clerk asked Mr. Fuller any questions

about his ability to pay.

        49.   Neither the Municipal Judge nor the clerk advised Mr. Fuller of his right to

counsel. Mr. Fuller was not represented by counsel, nor did he waive his right to counsel.

        50.   Mr. Fuller could not afford his first payment. The City Marshal came to Mr.

Fuller’s house, and told Mrs. Fuller that her husband would need to pay the fine, or else

the City would jail him for failure to pay.

        51.   Three days later, the City Marshal came back to Mr. Fuller’s house as he

was leaving for work. The marshal asked Mr. Fuller about his work schedule and other

obligations, so the marshal would know where to track Mr. Fuller down if he didn’t make

a payment. The marshal warned Mr. Fuller that he would lose his TWIC card, a $180

identification card required for his work at the shipyard, if the marshal arrested him at

work.

        52.   Mr. Fuller told the marshal that he could not afford to make a payment. The

marshal said that Mr. Fuller’s only option was to pay the fine; otherwise, the City would

jail him for failure to pay. Realizing that jail was inevitable, Mr. Fuller offered to

surrender himself at the jail that weekend.




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       53.    Mr. Fuller surrendered himself at the jail, as promised, that weekend. But

the Municipal Court had made an error in court records. Mr. Fuller’s file looked like a

failure to appear case, and did not reflect the fact that Mr. Fuller had already appeared to

answer the failure to appear charges and signed papers for a payment plan. The Police

Department treated Mr. Fuller’s case like a failure to appear case, and brought him before

the Municipal Judge the next morning.

       54.    The Municipal Judge fixed the recordkeeping mistake by ordering Mr.

Fuller to sign a new set of papers for a payment plan and released him from jail. When

Mr. Fuller got home, he realized that his new payment plan was for even more money

than he owed before.

       55.    Mr. Fuller still could not afford his payments. Court clerks issued a capias

pro fine warrant for Mr. Fuller’s arrest. Mr. Fuller was hopeful that he would eventually

save up enough money to start paying, but despite his best efforts, Mr. Fuller could not

spare any money to pay toward his fines.

       56.    About six months later, Mr. Fuller and his boss were out on business,

driving a new truck the company had bought. The temporary tag was flapping in the

wind. A state trooper pulled Mr. Fuller over because he could not read the tag.

       57.    The trooper ran Mr. Fuller’s license and contacted the Santa Fe Marshal

about his capias pro fine warrant. The trooper handcuffed Mr. Fuller, and the marshal

picked him up and took him to jail.

       58.    Someone at the Santa Fe Jail told Mr. Fuller that he would be in jail for two

days at most. But when Mr. Fuller’s family called to ask about getting him out, his


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mother, father, and wife each got different answers about how much money they would

have to pay to get him out, and when he would be released. His family could not get

enough money together to get Mr. Fuller out of jail.

        59.       Each time Mr. Fuller was held in the Santa Fe Jail, Police Department

staff booked him without asking him any questions about his medical needs or screening

him for risk of suicide. Each time, his jail cell was unsanitary. The mattresses remained

damp after prisoners sprayed them with cleaning products, and grew mold where they

laid against with the metal bed underneath. There were mashed Pop Tarts crusted onto

the mattresses.

        60.   While Mr. Fuller was permitted to make phone calls, the phone he was

allowed to use could not connect with a cell phone unless the recipient had already set up

a prepaid account for use with the jail’s phone company. When Mr. Fuller did connect

with a landline, a conversation that lasted approximately one minute cost the recipient

$48.

        61.   Each time Mr. Fuller was held in the Santa Fe Jail, the prisoners were fed a

maximum of one Pop Tart for breakfast, one Pop Tart for lunch, and a frozen dinner.

        62.   On two different evenings, Police Department staff forgot to feed Mr.

Fuller his frozen dinner. He was extremely hungry and he did not feel well.

        63.   One of the nights when Mr. Fuller was deprived of food, he decided to try

to get someone’s attention around 3:00 AM, even though he was nervous that he would

only make the staff angry. He started yelling, then knocking on the door, then kicking the

door. He gradually got louder and kicked the door of his cell as hard as he could.


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       64.    Mr. Fuller kicked the door intermittently for about an hour. Because

nobody was near the jail cells at night, and nobody was monitoring the video feed from

the jail cells, it took that long for a staff member to realize that Mr. Fuller was trying to

get someone’s attention.

       65.    After an hour of kicking, someone came to Mr. Fuller’s cell and yelled at

him for kicking the door. Mr. Fuller said he hadn’t gotten any food for dinner. The staff

member was annoyed that Mr. Fuller had made so much noise, so he put the frozen

dinner in the microwave—which Mr. Fuller could see from his cell door window—and

left the area for another hour. Eventually, the staff member came back and handed Mr.

Fuller the food, which was cold.

       66.    On Mr. Fuller’s third day in jail, jail staff informed him that he had eight

more hours to go. They told him that rather than sitting in jail for another eight hours, he

could clean their offices and get out early. Mr. Fuller felt angry that he was being

pressured to do cleaning for the Police Department, after having been in jail for three

days, just because he didn’t have the money to pay his fines. But he did the cleaning

anyway because it was his fastest way out.

       67.    Mr. Fuller was ultimately jailed by the Santa Fe Police Department for

three days, in violation of his right to due process, right to equal protection, right to

counsel, and right against cruel and unusual punishment.




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IV.    Plaintiffs Bring This Action Against the City of Santa Fe and Two City
       Officials

       68.    Defendant City of Santa Fe is a municipality organized under Texas law.

Plaintiffs seek injunctive relief, declaratory relief, and damages from the City. The City

may be served with process by serving the Mayor Jeff Tambrella, Secretary and

Treasurer Janet Davis, or City Manager Joe Dickson (the Chief Executive Officer) at

Santa Fe City Hall, 12002 State Highway 6, Santa Fe, Texas 77510.

       69.    Defendant Carlton Getty is the Santa Fe Municipal Judge. Plaintiffs sue

Judge Getty in his individual capacity, for declaratory relief only.

       70.    Defendant Jeffrey Powell is the Santa Fe Police Chief. Plaintiffs sue Chief

Powell in his official capacity, for injunctive and declaratory relief.

                           CITY OF SANTA FE PRACTICES

I.     The City of Santa Fe Unconstitutionally Jails Local Residents Under a
       Scheme to Raise Revenue

       A.     The Santa Fe Municipal Court Assesses Fines in Unreliable
              Proceedings Lacking Basic Constitutional Protections

       71.    The City of Santa Fe’s revenue-generating scheme begins with Municipal

Court proceedings that lack even the most basic constitutional protections. For a person

who cannot afford to pay her fine, Santa Fe’s criminal justice system is like a maze with

dead ends at every turn.

       72.     The Santa Fe Municipal Court’s criminal jurisdiction is limited to tickets

for Class C Misdemeanors. Class C Misdemeanors are defined by Texas law as

“nonjailable,” “fine only” offenses, punishable by a fine up to $500. They are the least




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serious offenses punishable in the State of Texas, such as failure to signal while changing

lanes.

         73.   The Santa Fe Municipal Court permits anyone who can afford to write a

check to exit the criminal justice system by pleading guilty and mailing the court

payment in full. For most of us, that fine is a proportionate sanction for a minor offense.

         74.   But for anyone who cannot afford to write a check, the stakes are much

higher. For Santa Fe’s poorest residents, the only way out of the system is jail.

         75.   The City of Santa Fe simply ignores the constitutional prohibition on jailing

people unless they were represented by counsel. The court does not appoint counsel to

represent people who appear in court, nor does the court staff advise people who appear

in court of their right to counsel.

         76.   The vast majority of people who appear in Santa Fe Municipal Court

cannot afford a lawyer, do not understand their right to counsel, and do not have the legal

expertise necessary to establish their innocence. Deprivation of counsel is an affirmative

defense to jail, but people who appear in court do not know that, because the City does

not give people the chance to consult with a lawyer who would advise them of their

rights. Court staff do not obtain a knowing, intelligent, or voluntary waiver of the right to

counsel from any person in any proceeding.

         77.   Indeed, the only guidance the court gives the public on the right to counsel

creates the false impression that people who cannot afford a lawyer aren’t entitled to one.

In describing the accused’s “rights,” the City’s website simply declares: “No attorney

will be appointed for you.”


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       78.    As a result, anyone who cannot afford to pay her fine is disadvantaged by a

dramatic imbalance of resources between the accused, who may be experiencing her first

contact with the criminal justice system, and the City of Santa Fe, which has established a

system for prosecuting more than a thousand Class C misdemeanor cases each year. For

example:

              a.     The City employs a full-time City Attorney with training and

       experience in prosecuting Class C misdemeanors.

              b.     The Municipal Court shares resources with the City Attorney. The

       court clerks work for the City Attorney, serving as his administrative support.

              c.     Municipal Court staff train the City Attorney about changes in the

       law that pertain to the court.

              d.     The Court Administrator engages in direct, off-the-record

       communication with the City Attorney and Santa Fe Police Department staff to

       discuss modifying flawed tickets so a case is not subject to dismissal.

       79.    The Santa Fe Municipal Court also ignores the constitutional requirements

for accepting guilty and no contest pleas, which must be knowing, intelligent, and

voluntary. Court staff simply instruct anyone who cannot afford to pay her fine to circle

“guilty” or “no contest” on a payment plan form if she is not contesting her ticket. It is

common for a person who completes that form to do so without understanding that she is

pleading to criminal charges, that a judgment of conviction will be entered against her,

and that she is at risk of jail time if she cannot make the required payments. Santa Fe

Municipal Court staff do not engage in the colloquy that is ordinarily necessary for a


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knowing and intelligent guilty or no contest plea, which would require the Municipal

Judge to ask the accused questions and satisfy himself that:

              a.     The accused understands nature of the charges against her and what

       the government would have to prove to convict her of her charge.

              b.     The accused understands rights that she is waiving, including right to

       plead not guilty, the right to a jury trial, the right to a presumption of innocence

       unless the government proves her guilt beyond a reasonable doubt, the right to

       confront witnesses against her, the right to compel witnesses to testify in her

       defense, the right to remain silent or testify at trial, and the right against any

       penalty for her silence.

              c.     The accused understands maximum legal penalties for her charge.

              d.     The accused is competent to enter a plea, is voluntarily making the

       plea, and has not been induced to make the plea with any false representations or

       improper promises.

       80.    To make matters worse, the Municipal Judge allows budgetary

considerations to color his judgment about whether to dismiss cases. The judge recently

identified dozens of cases in which the prosecutor could not prove the charges against the

accused. The judge nevertheless declined to dismiss those charges, because of the

negative impact on overall fines owed to the City. If a person is arrested under an open

warrant in one of these cases, it is likely that the court will accept her no contest plea and

entered a conviction against her—despite the judge’s knowing that the prosecutor would

be unable to prove his case.


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       81.     The Santa Fe Municipal Court ignores the constitutional requirement to

offer reasonable alternatives, like community service or proportional fines, for the

indigent. Instead, the court simply sentences people to pay fines, and enforces those fines

by ordering anyone who cannot pay her fine to make payments in what can be

unmanageable installments, generally $100 per month. The court does not determine the

accused’s ability to pay before setting the monthly payment amount. Court staff refuse to

reduce the payment amount or offer any alternatives, even if someone says that she

cannot afford the monthly payment. This one-size-fits-all approach makes it inevitable

that poor people and low-income workers will be unable to satisfy the requirements to

exit the criminal justice system.

       82.     The Santa Fe Municipal Court makes failure even more likely by imposing

extra fees on anyone who cannot afford to pay her fine. The base fine for a single offense,

combined with fees and costs mandated by both the City of Santa Fe and the State, is

typically between $200 and $500.1 For anyone who cannot afford to pay her fine outright,

her debt for a single ticket will continue to grow: a fee is added for a payment plan; yet

another fee if she misses a payment and the court issues a warrant; more fees are added if

the court refers her ticket to a debt collection agency. The Santa Fe Municipal Court does

not waive any of these fees in any case.




1
  Throughout this complaint, Plaintiffs use the term “fine” to refer to this total debt to the court:
the base fine plus costs and fees associated with each ticket.



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       83.    The City of Santa Fe also takes steps that increase the likelihood that a

person who cannot afford her fine will receive additional tickets and incur still more fees

and costs. The City contracts with the Department of Public Safety to report unpaid fines

to the state, resulting in an additional fee for each unpaid fine—a portion of which goes

to the City—and preventing anyone with unpaid fines from renewing her driver’s license.

The City also reports unpaid fines to the Department of Motor Vehicles, resulting in even

more fees and prohibiting anyone with unpaid fines from renewing her car registration. A

person in this situation is likely to lose her car insurance, because her premiums will

become unaffordable (or her coverage will be dropped altogether) due to her expired

driver’s license.

       84.    Because Santa Fe lacks meaningful public transportation options, a person

living in poverty is put to a difficult choice. If she stops driving, she may lose her job or

be unable to meet family obligations. But if she drives, her expired car registration

increases the likelihood of additional traffic stops, where officers write new tickets for the

expired license, expired registration, and lapse in car insurance. It is not uncommon for

someone with low income to accrue $1000 or more in fines in a short period of time.

       85.    Despite having created these obstacles for poor people trying to satisfy their

legal obligations, the Santa Fe Municipal Court enforces these fines by summarily issuing

a capias pro fine warrant for anyone who fails to make timely payments in full. Court

clerks issue capias pro fine warrants in the Municipal Judge’s name. The face of the

warrant indicates that it is a capias pro fine warrant, and explicitly states that the basis for

the warrant is failure to pay a fine.


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       86.       Even people who do manage to make their payments are not protected from

the court’s harsh enforcement practices. The court’s recordkeeping system invites

mistakes, and court clerks issue capias pro fine warrants in error. Court clerks record

pleas and judgments of guilt on forms without other identifying information, such as the

date of the offense, citation number, or offense charged. Court clerks also record

outstanding balances with handwritten notations in two different places, resulting in

confusing and inconsistent records of payment already made. Balances increase and

decrease with notations that are insufficient to adequately explain changes in the

outstanding fine, or to memorialize communication between the person who owes money

and the court.

       87.       This historically poor recordkeeping has led to systemic problems with

issuing convictions and warrants in error, keeping even those who comply with the

court’s orders ensnared in the Santa Fe criminal justice system. In recent cases, the court

has incorrectly entered convictions for people who successfully completed a deferred

disposition, and incorrectly issued warrants for people who appeared in court and paid

their fines—even for people who received a mere warning, rather than an actual ticket.

       88.       The court’s recordkeeping problems persist: one of the “operational

objectives” for the Santa Fe Municipal Court in the 2015–16 fiscal year is to “[c]ontinue

clean-up and maintenance of court database.”

       89.       Whether warrants are issued as the result of a recordkeeping error or not,

court clerks typically issue capias pro fine warrants without prior notice, catching people

off guard and triggering harsh procedural rules that put them at further disadvantage.


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Internal court rules specify that the clerks “may or may not” give the person subject to the

warrant a “courtesy” phone call. When court staff do make a courtesy call to warn a

person about her capias pro fine warrant, and that person asserts inability to pay, officials

simply instruct her to come up with the money lest she be arrested and jailed.

       90.    The capias pro fine warrants issued by court clerks purport to authorize an

unconstitutional term in debtors’ prison. The warrants direct officers to either bring the

person who owes money before the court immediately, or “place [the person] in jail until

such time as [s/he] pays the amount due on said judgment and the further costs of

collecting the same or until [s/he] is otherwise legally discharged.”

       91.    Court clerks issue these warrants without giving people a chance to explain

themselves to a judge and keep themselves out of jail: there is no predeprivation hearing

inquiring into the reasons for the person’s failure to pay. The Municipal Judge does not

make any finding that the person has willfully refused to pay, that the person failed to

make sufficient bona fide efforts to acquire the resources to pay, or that alternative

measures are inadequate to satisfy the state’s interest in punishment.

       92.    Court clerks also issue these warrants to enforce fines in complete disregard

of the constitutional right to counsel. The warrants purport to authorize a jail term for

people who have not had the opportunity to consult with a lawyer. There is no other

explanation that would make these jail terms constitutional: the court does not initiate

charges for civil or criminal contempt. Court clerks do not limit the authorized period of

detention to three days or less. And court clerks issue these warrants without giving




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people a fair opportunity to present information about their ability to pay or object to the

absence of court findings about their ability to pay.

       93.    What counsel would assert, if counsel were appointed, is that these capias

pro fine warrants purport to authorize jail terms far beyond the limited liberty deprivation

authorized for capias pro fine warrants under Texas law. The only liberty deprivation

Texas law authorizes for failure to pay is a capias pro fine warrant directing officers to

bring the person before an appropriate court immediately, or if that is impossible, to hold

her in jail until the next business day. Tex. Code Crim. Proc. Art. 45.045. Because Santa

Fe’s capias pro fine warrants authorize a more serious liberty deprivation, the warrants

are unlawful and facially invalid.

       94.    In short, for a person who cannot afford to pay her ticket, all routes through

the Santa Fe Municipal Court lead to one outcome: a capias pro fine warrant. These

warrants give officers a choice: either bring the person before the court, or jail her in

violation of her right due process, her right to equal protection, and her right to counsel.

Once the choice is in the hands of the Santa Fe Police Department, the Department

consistently chooses an unconstitutional jail term.

       B.     The Santa Fe Police Chief Jails Local Residents Under Fundamentally
              Unfair and Uncivilized Conditions

       95.    As set forth above, people who cannot afford to pay their fines in Santa Fe

Municipal Court are inevitably subject to a capias pro fine warrant. Once a capias pro

fine warrant issues, the Santa Fe Police Department prevents any exit from the system

except through a jail cell.



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       96.    The City makes this system clear to the public. In a section entitled

“Warrants,” the City of Santa Fe website states:

              If you have a Capias Pro-Fine warrant, your options are:
                  • Pay in full.
                  • You may turn yourself in at the Santa Fe Police
                      Department located at 3650 FM 646 N, Santa Fe, TX
                      77510.

       97.    The capias pro fine enforcement system is not passive. In addition to taking

custody of people who choose to turn themselves in, Santa Fe law enforcement officers

(both police officers and the City Marshal) actively search for people subject to capias

pro fine warrants, sometimes arresting people at their homes in front of family, friends,

and neighbors.

       98.    In fact, the City has taken many affirmative steps to leverage a credible

threat of arrest in order to coerce payments from people who are subject to capias pro fine

warrants. The City Marshal has a stated “operational objective” to carry out an

“aggressive program of serving and collecting warrants.”

       99.    The City of Santa Fe also participates in the so-called “Great Texas

Warrant Round-Up,” which is an annual campaign during which people subject to open

capias pro fine warrants are warned that they must make a payment to avoid being

arrested. Santa Fe police officers who would normally focus on other public safety duties

devote their time to finding and arresting people who cannot afford to pay their fines. The

Round-Up is timed to coincide with the period when people receive their tax refund

checks, such as the Earned Income Tax Credit for low- and moderate-income working

families.


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       100.   The City of Santa Fe is also a full-access participant in the Southeast Texas

Crime Information Center, an organization that feeds data on capias pro fine warrants to

participating law enforcement agencies in the area, and gives those agencies a financial

reward for arresting anyone subject to a Santa Fe capias pro fine warrant. The City

Marshal will travel up to a hundred miles from Santa Fe to take custody of anyone

arrested under a capias pro fine warrant.

       101.   When a Santa Fe law enforcement officer takes custody of a person under a

capias pro fine warrant, the officer has the option, consistent with the language of the

warrant, to bring the person before the court immediately. But Santa Fe law enforcement

officers do not bring the person before the court, immediately or otherwise.

       102.   Instead, Santa Fe law enforcement officers transfer anyone arrested under a

capias pro fine warrant to the custody of the Santa Fe Police Chief and book her into jail.

The Police Chief refuses to release anyone arrested under a capias pro fine warrant unless

either she pays her fines in full, or the Department holds her in jail long enough to satisfy

her fines with “jail credit.” This practice of enforcing fines turns the Santa Fe Jail into a

modern-day debtors’ prison, and it is unconstitutional.

       103.   This practice is unconstitutional because people are jailed for failure to pay

without a hearing. The Santa Fe Police Chief prohibits people in his custody from

speaking to a judge to explain why they failed to pay and ask for an alternative to jail.

The Chief jails people for failure to pay in the absence of judicial findings that they

willfully refused to pay, that they failed to make sufficient bona fide efforts to acquire the




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resources to pay, or that alternative measures are inadequate to satisfy the state’s interest

in punishment.

       104.   These jail terms are also unconstitutional because the people who are jailed

don’t get the opportunity to consult with a lawyer. City policymakers including the Police

Chief are aware that people arrested under capias pro fine warrants are highly unlikely to

have been represented by an attorney at trial, because the City designed its criminal

justice system to elicit guilty pleas without appointing defense counsel or advising people

of their right to counsel. While anyone who was unrepresented at trial could theoretically

assert the deprivation of counsel as an affirmative defense to jail, people arrested under

capias pro fine warrants do not understand or exercise this right, precisely because they

are deprived of counsel to advise them of the right in the first place. Instead, the Police

Department jails people without informing them of their right to counsel, taking any steps

to appoint counsel in their defense, or obtaining a knowing, intelligent, or voluntary

waiver of the right to counsel.

       105.   Finally, these jail terms are unconstitutional because they are imposed

without a facially valid court order or any other legal justification. Texas law requires

officers to take people subject to a capias pro fine warrant before an appropriate court as

soon as possible, and no later than the next business day after arrest. But the Police Chief

jails people for days, regardless of whether a court appearance is possible. These jail

terms violate due process of law because they have no legal justification.

       106.   The Police Chief’s constitutional violations are compounded by the fact

that it is impossible for people to assert their constitutional rights in state court. People


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subject to an open capias pro fine warrant are prohibited from setting an appearance date

in Municipal Court, so it isn’t possible to raise these claims prior to arrest. And after

arrest, the jail term for failure to pay is too short to permit litigation of a habeas corpus

petition in state court. People who the Chief holds in jail cannot vindicate their

constitutional rights and invalidate their jail terms before their release.

       107.   Procedural and substantive unfairness aside, the jail terms imposed by the

Santa Fe Police Chief are also unconstitutional because they are cruel. In an attempt to

coerce payments, the Police Chief denies people in his custody basic human needs such

as food, medical care, and protection from serious harm.

       108.   The Police Chief compromises his prisoners’ safety by locking them in jail

cells without any meaningful supervision in case of an emergency. There are cameras in

the jail cells, but staff do not consistently monitor the video feed. If it so happens that no

one is close enough to the cells to hear a prisoner call for help—or if a prisoner is

incapable of calling for help—no one will know that there is an emergency.

       109.   Through denial of medical care, the Police Chief also compromises

prisoners’ health and safety. The Chief authorizes his staff to lock people in jail cells

without any screening for medical needs or suicide risk during the jail booking process.

He does not provide a way for anyone in his custody to speak with a medical

professional. Even if someone tells Police Department staff that she requires specific

medications, the Chief refuses to provide those medications, unless the person in jail can

prove that she already has a prescription. For someone who was arrested without notice,

this is almost always impossible to do.


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         110.   Finally, the Police Chief denies people the basic necessity of food. He jails

people on a diet of no more than one Pop Tart for breakfast, one Pop Tart for lunch, and

frozen meal, such as a Hungry Man frozen dinner, at night. The Police Chief apparently

considers one box of Pop Tarts to be adequate to feed anyone in his custody breakfast and

lunch for four days straight.

         111.   This diet is nutritionally and calorically deficient. While the Chief varies

the flavor of Pop Tart and the type of frozen meal provided to people in his custody, the

diet is always calorically and nutritionally insufficient for an adult, even a sedentary

adult.

         112.   For example, during October 2016, the Police Chief has been feeding

people in his custody Pop Tarts and a frozen meal amounting to 720 calories a day. A

720-calorie diet supplies less than half of the calories any sedentary adult requires, and

less than a third of the calories sedentary young men require. A 720-calorie diet is not

even enough to feed a one-year-old child.




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                                Daily Nutritional Requirements (Sedentary)
                                         versus Santa Fe Jail Diet
         3000                                                  60     56
                         2600
         2500                                                  50              46

         2000                                                  40
                                  1600
         1500                                                  30
                                         1000                                                      18
         1000                                      720         20                      13
          500                                                  10

               0                                                0
                                    Calories                                 Protein (grams)


                     20-year-old male          75-year-old female   1-year-old child           Santa Fe Jail




       113.        This starvation diet would be bad enough on its own, but the food

deprivation gets even worse. The Police Chief has not established a system for alerting

on-duty supervisors that a person has been booked into the jail under a capias pro fine

warrant, creating a high risk that people in his custody will be deprived of the little food

they are supposed to receive, because no one knows they are in the jail.

       114.        And even when Police Department staff do know that someone has been

booked into the jail, the Police Chief has not established a system for ensuring that they

get fed. Over the past two years, Police Department staff have repeatedly deprived people

in their custody of “meals” they are supposed to receive—simply failing to distribute any

food at all.

       115.        These jail conditions coerce people to pay money they cannot afford to part

with—such as money for food or medicine—in order to buy their liberty. Some people

make frantic calls to family or friends, asking them to gather whatever money they can


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and turn it over to the police. But for a person who simply does not have access to the

money to pay, the Santa Fe Police Chief jails her under fundamentally unfair and

uncivilized conditions, solely because she cannot afford to pay her fines.

II.    The City of Santa Fe is Liable for Jailing Local Residents in Violation of
       Their Constitutional Rights

       A.     The Santa Fe Police Chief Jails People Under Two Unconstitutional
              Policies

       116.   The practices described in the foregoing section are not anomalies; they are

the persistent and widespread practices of municipal officials handling capias pro fine

warrants in the City of Santa Fe. These practices are so common and well-settled that

they fairly represent customs that constitute two distinct municipal policies.

       117.   The first policy is the Debtors’ Prison Policy. As discussed in Section I.B

above, the Santa Fe Police Department has a persistent, widespread, and well-settled

practice of jailing people under capias pro fine warrants in violation of their

constitutional rights. Specifically, police officers do not present people to a judge for an

ability to pay hearing. Police officers jail people for uncounseled misdemeanor

convictions without advising them of their right to counsel or taking any steps to appoint

counsel. And police officers refuse to release a person from jail until she has stayed in

custody long enough to discharge her fines, which is often longer than the next business

day after her arrest. Moreover, the Santa Fe Police Chief does not train his officers in

application of constitutional rights in the context of capias pro fine warrants, such as the

right to due process, the right to counsel, and the scope of the liberty deprivation a capias

pro fine warrant authorizes under Texas law.


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       118.   The second policy is the Hungry Man policy. As discussed in Section I.B

above, the Santa Fe Police Department has a persistent, widespread, and well-settled

practice of jailing people on a diet of one Pop Tart for breakfast, one Pop Tart for lunch,

and a frozen meal, such as a Hungry Man meal, for dinner. The Police Chief does not

assign responsibility for feeding people in his custody, and he does not supervise the

distribution of food, despite repeated instances of his staff forgetting to feed the people

locked in jail. These deprivations of food are not episodic omissions, but rather the

repeatedly occurring symptom of systemic deficiencies in the Police Chief’s delegation

of power and supervision of his staff who operate the Santa Fe Jail.

       119.   Many aspects of the Police Department’s operations demonstrate that these

practices are municipal policy. For example, the forms used by the Police Department

evince the persistent, widespread, and well-settled nature of the Debtors’ Prison Policy.

There are only two types of paperwork available for documenting the execution of a

capias pro fine warrant: a receipt, which is issued for payment, or a “Jail Time Credit”

form, which is issued by the Police Department, if at all, after the Department jailed the

person long enough to discharge her fine. Police Department staff do not complete any

paperwork on a person held in jail until after she has already been held in jail long

enough to satisfy her fine. In the words of a supervisor, officers document arrests on

paperwork “[s]ometimes, if we are lucky.” A Police Department supervisor gathers the

paperwork that officers bother to complete on Monday morning—after the relevant

decisions about jail release have been made—and transfers the paperwork for

recordkeeping after the fact. It is clear that Police Department staff determine whether


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and when to release a person from the Police Chief’s custody, based solely on the amount

of money she owes.

       120.   The Debtors’ Prison Policy is so persistent, widespread, and well-settled

that, when the Municipal Judge goes on vacation, Police Department staff do not make

any contingency plans for presenting people who are arrested under a capias pro fine

warrant to a judge. This is because Police Department staff do not present such people to

a judge in the ordinary course of business.

       121.   The Police Department’s structural capacity to clear capias pro fine

warrants shows that the Debtors’ Prison Policy is persistent, widespread, and well-settled.

The Police Department has established a framework for accepting payments toward

outstanding fines and clearing capias pro fine warrants from the court’s database after

payment or jail time—all without consulting a judge.

       122.   The Municipal Court’s self-reported data also show how persistent,

widespread, and well-settled the Debtors’ Prison Policy is.2 From September 2015

through August 2016, the City of Santa Fe reported that it satisfied 221 cases with jail

credit. During the same period, the City allowed a full satisfaction of a fine with

community service in just one case, and did not waive any fines in any case—not even




2
  The Court should regard data reported to the Office of Court Administration before September
2014 with skepticism. On September 2, 2014, the Court Administrator emailed the City Manager
to notify him that the Municipal Court had not been reporting data accurate data to the Office of
Court Administration, and she would do her best to report data accurately going forward.



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one dollar—due to the inability to pay. This is because the Police Department does not

present people to the judge for hearings concerning ability to pay or alternatives to jail.

       123.   The Santa Fe Police Department’s public records support the same

conclusion. There is only one written Police Department procedure that applies to capias

pro fine warrants specifically. The procedure gives a person arrested under a capias pro

fine warrant three options: “Pay fine,” “Sit out time in jail (100.00 per day (24 hrs) per

charge),” or a combination of the two. Police Department staff have no written

procedures concerning producing a person for an ability to pay hearing, informing her of

her right to counsel and taking steps to appoint counsel, or any time limit on her detention

other than the amount of money she owes to the court. The Santa Fe Police Department

does not have any training materials or training policies concerning execution of capias

pro fine warrants.

       124.   It’s also clear that from Santa Fe Municipal Court records that the Debtor’s

Prison Policy is persistent, widespread, and well-settled. The Municipal Court simply

does not have any of the forms it would need to enforce fines for Class C Misdemeanors

in a constitutional manner:

              a.     The court lacks application forms for payment plans, community

       service, indigency status, waiver or reduction of fines, or clearing arrest warrants.

              b.     The court has no policies, procedures, standing orders, rules or other

       guidance to the City Marshal concerning execution of capias pro fine warrants.

              c.     The court has not developed training materials or training policies

       for the City Marshal concerning execution of capias pro fine warrants.


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              d.       The court’s case files show that the Municipal Judge did not sign a

       single order committing a person jail during a four-month period from December

       1, 2015 through mid-April 2016. Over that same period, the Police Department

       jailed many people who were arrested under capias pro fine warrants.

              e.       The court files lack evidence of ability to pay determinations for

       anyone arrested under a capias pro fine warrant from January 1 through June 23,

       2016. Over that same period, the Police Department jailed many people who were

       arrested under capias pro fine warrants.

       125.   Just like the Debtors’ Prison Policy, the Hungry Many Policy is also a

municipal policy. The Police Chief has failed to promulgate any policies regarding

supervisory use of the information recorded in the Jail Management System (JMS),

where police department staff are supposed to record each “feeding.” The Chief has not

implemented any alert for when a “feeding” is not recorded, nor has he designated any

supervisor to systematically check JMS to see whether a person in his custody was fed.

The result is that, though the Chief is in possession of records showing whether or not

people in the jail were fed, he is not using those records in a preventative way to ensure

that someone does, in fact, feed the people in his custody.

       126.   The risk posed by this policy failure isn’t just theoretical. People in the

Police Chief’s custody have been deprived of food repeatedly due to his failure to

supervise his staff.

       127.   For example, on August 16, 2016, City officials realized that someone

arrested under a capias pro fine warrant had not been fed for some time. The mistake was


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fixed only because, one morning, the person who had been arrested got the attention of

the City Marshal and convinced him that she had not been fed.

       128.   From the time that person had been booked into jail, there were no jail

checks or “feedings” logged in for her. It is not clear whether the she had been fed at all

for the duration of her jail term. The Police Department supervisor on duty was

completely unaware that this person had been booked into the jail.

       129.   When this issue was brought to the attention of Santa Fe’s Lieutenant, one

of the Police Department’s top officials, he said that no one should “nitpick” about

whether people in the Chief’s custody are fed or not. The Lieutenant did not demonstrate

any concern about the fact that a person locked in the jail had been deprived of food.

Instead, he defended the Police Department’s actions.

       130.   After this incident, there is still confusion among City officials about who

is responsible for feeding someone booked into jail under a capias pro fine warrant. On

August 16, 2016, the Police Chief was explicitly warned that “we need to confirm if [the

City Marhsal] is responsible for feeding his prisoner or will his prisoner be fed with

everyone else.” The Police Chief has not taken any action to address this problem.

       131.   A diet of two Pop Tarts and a frozen meal per day, less the “meals” missed

when Police Department staff are busy or inattentive, is an objectively sufficiently

serious deprivation of the calories and nutrition necessary to sustain a healthy adult—it is

a starvation diet. Enough food to maintain health is a minimal civilized measure of life’s

necessities. The Hungry Man Policy results in cruel and unusual punishment.




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       B.     Santa Fe’s City Council, City Manager, and Police Chief Are Each
              Municipal Policymakers

       132.   The City of Santa Fe is liable for the Debtors’ Prison Policy and the Hungry

Man Policy through its municipal policymakers.

       133.   The City of Santa Fe is a home rule city, meaning that as a matter of Texas

law, the local government is free to establish any system of policymaking authority not

prohibited by the State. Santa Fe’s Home Rule City Charter designates its form of

government as a “Council-Manager Government.”

       134.   The City Charter vests general policymaking authority in the City Council,

which consists of the Mayor and five councilmembers. The Mayor is the head of the City

Council.

       135.   The City Charter vests general executive, administrative, and supervisory

authority in the City Manager. This authority entails the power to set policies regarding

training and supervision of City employees. By ordinance, the City Council has created

the Santa Fe Police Department, subject to administration and supervision by the City

Manager.

       136.   The City Council has also impliedly delegated final authority to set policy

regarding all Police Department operations, including operation of the jail, to the City

Manager. The City Council has not explicitly authorized establishment of a jail or set any

policies whatsoever concerning jail operations. The City Council has not exercised any

oversight of jail operations for the entirety of the Council’s history, not even during or

after the recent construction of a new multimillion-dollar facility. The City Council has



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never commented authoritatively on operation of the Santa Fe City Jail. The City Council

does not exercise any supervisory power over policies concerning the Police Department.

Instead, the City Council has delegated policymaking authority for Police Department

operations to the City Manager.

        137.   In an exercise of the authority delegated to him by the City Council, the

City Manager expressly delegated final authority to set policy regarding all operations of

the Police Department to the Police Chief. Among the “essential job functions” that the

City Manager has delegated to the Police Chief are: “Direct and coordinate the work of

all divisions of the police department,” “develop[] and review [] policies and

procedures,” “[be] responsible for long and short range planning for the department,” and

“establish departmental performance goals.” These are classic functions of a municipal

policymaker. The Police Chief has recently used this authority to promulgate many final

policies governing operation of the Santa Fe Police Department, such as the

Department’s policy on racial profiling, and the policy on towing cars during a traffic

stop.

        138.   The communication (or lack thereof) regarding the Police Chief’s

policymaking further suggests that the Chief’s policymaking authority is final. No one,

including the City Manager, Mayor, and other City Councilmembers, exercises review or

oversight of the Police Chief’s policymaking authority, or makes any authoritative

commentary about the policies the Police Chief promulgates. Instead, the Police Chief

notifies officials outside the Police Department of a change to Departmental policies—if

at all—after the change is implemented, with messages such as “Just an FYI.”


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       139.   In the alternative, the Santa Fe City Council is the policymaker with respect

to rules of procedure and practice in the Municipal Court, which entails rules governing

appointment of counsel, entry of guilty pleas, jail commitment orders, and access to the

court. The City Code explicitly reserves unsupervised, final authority to promulgate

policies governing Municipal Court procedures to the City Council. For example, the

City Council annually implements a warrant amnesty program, requiring the Municipal

Court to dismiss certain charges in exchange for payments. The City Council has also

passed ordinances prescribing detailed procedures for the court regarding cash bail, such

as the exact conditions a person must agree to in order to post bail, the minimum amount

of bail, and how to issue and store receipts for bail.

       C.     Santa Fe’s Municipal Policymakers Implemented the Debtors’ Prison
              Policy

       140.   As described in section II.A above, the Debtors’ Prison Policy is a

persistent, widespread practice of Santa Fe Police Department staff, which is so common

and well settled as to constitute a custom that fairly represents municipal policy.

       141.   City Council members, including the Mayor, know of the Debtors’ Prison

Policy.

              a.     The Court Administrator makes a monthly report to the City

       Manager and City Council. This report focuses exclusively on revenue generated

       or lost by the court, not the administration of justice. The report includes statistics

       on the “value,” in dollars, of fines for which police department staff have

       imprisoned people for failure to pay.



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          b.    The City Council has publicly boasted about the number of warrants

 that the Police Department serves.

          c.    The Mayor has served as a relief magistrate at the Santa Fe Jail when

 the Municipal Judge was unavailable, magistrating people arrested on higher

 charges before they were brought to the Galveston County Jail. The Mayor saw

 firsthand that the Police Department holds people in the Santa Fe Jail 24 hours for

 every $100 they owe, without presenting them to a judge for an ability to pay

 hearing or vindication of their right to counsel.

          d.    The Mayor got upset and expressed disapproval when he learned of

 an outlier incident when the Debtors’ Prison policy was not followed. The Mayor

 contacted Police Department officials and the Municipal Judge about how they

 could “correct” the mistake of releasing people from jail who haven’t paid their

 fines.

 142.     The City Manager has implemented the Debtors’ Prison Policy.

          a.    The City Manager knows of arrangements that Police Department

 and Municipal Court staff make when the Municipal Judge goes on vacation.

 Police Department staff make arrangements for presenting all types of people in

 custody to a judge, except people arrested under a Santa Fe capias pro fine

 warrant.

          b.    The City Manager knows that the Mayor has expressed disapproval

 that the Debtors’ Prison Policy was not followed, and that the Mayor contacted




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          Police Department officials and the Municipal Judge to discuss ways to ensure that

          the policy is followed in the future.

          143.   The Police Chief has implemented the Debtors’ Prison policy. The current

Police Chief, Defendant Chief Powell, was appointed as of August 1, 2016. He was

trained in all aspects of the Debtors’ Prison Policy as carried out by his predecessor,

including conditions under which people are released from jail, and paperwork to

complete when releasing a person from jail. Since taking command of the Santa Fe Police

Department, the Police Chief has reviewed other departmental policies and chosen to

change at least one policy because it was unlawful. The Police Chief knows of the

Debtors’ Prison Policy, he has the power to change it, and he has failed to do so.

          144.   Even if the City Council, City Manager, and the Police Chief did not have

actual knowledge of the Debtors’ Prison policy, they have constructive knowledge of the

policy.

                 a.     The Debtors’ Prison Policy is applied regularly. The Santa Fe Police

          Department takes custody of people under capias pro fine warrants, and jails them

          if they cannot pay their fines, multiple times a week.

                 b.     Police Department staff flagrantly carry out the Debtors’ Prison

          Policy.

                        i.     Police Department staff carry out an interdepartmental

                 exchange of forms that are tailor-made for the policy. After the Police

                 Department jails a person for failure to pay, staff complete a “Jail Time

                 Credit Form” and turn it over for recordkeeping—after the fact—that the


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        Police Department arrested and jailed a someone for failure to pay her

        fines.

                 ii.   Police Department staff have posted crucial components of

        the Debtors’ Prison policy in the jail booking area. The Department’s

        written procedure for jail releases includes just three options for releasing a

        person arrested under a capias pro fine warrant: release her after she pays

        her fine in full, after jailing her at a rate of 24 hours for every $100, or after

        she pays whatever money she can get her hands on, and she stays in jail

        long enough to make up the difference.

        c.       Under the Debtors’ Prison Policy, Police Department staff commit a

 severe constitutional violation. The Police Department subjects people who cannot

 afford their fines to imprisonment—a deprivation of physical liberty—for days on

 end. Freedom from imprisonment lies at the heart of the interests protected by the

 right to due process and the right to counsel.

        d.       Both the City Council and the City Manager have been aware of

 overcrowding at the jail for years. As early as 2012, the City Council and the City

 Manager were presented with reports that “The [jail] cells are designed to

 accommodate two prisoners per cell. More often than not we have at least four

 people in each cell, requiring at least two per cell to [sleep] on the floor.” Over the

 course of the next two years, the City undertook repeated initiatives to raise the

 money necessary to increase the capacity of the jail. A policymaker exercising his




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 responsibilities would investigate drivers of the incarceration rate at the jail and

 consider ways to reduce the jail population.

        e.     For years, there has been an ongoing national conversation illegal

 enforcement of fines in municipal courts. The U.S. Department of Justice has been

 especially vocal in this conversation, most significantly in its 2014–2015

 investigation and report on the Ferguson Police Department, its December 2015

 and September 2016 national convenings on criminal justice debt, and its March

 2016 Dear Colleague letter condemning practices such as the Debtors’ Prison

 Policy. Here in Texas, there has been considerable discussion among the Texas

 Judicial Council, the Texas Municipal Courts Education Center, state lawmakers,

 legal scholars, and criminal justice advocates regarding the legality of widespread

 practices such as Debtors’ Prison Policy. A 2015 investigative report by Buzzfeed

 revealed that municipal judges across Texas routinely ignore protections for low-

 income people charged with Class C Misdemeanors. This report prompted the

 Texas Judicial Council to pass regulations reforming collections practices in

 municipal courts. Litigation and settlements over practices similar to the Debtors’

 Prison have developed in Alabama, Colorado, Georgia, Louisiana, Michigan,

 Mississippi, Missouri, New Hampshire, and Washington, and here in Texas in

 Amarillo, Austin, El Paso, McAllen, and Tyler. For any municipal policymaker

 who oversees a local jail or municipal court, proper exercise of his responsibilities

 would require a basic inquiry into whether the jail or court he oversees commits




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       the common constitutional violations that are the subject of statewide and national

       scrutiny.

       145.   In short, the Debtors’ Prison Policy is not a hush-hush agreement among

low-level Police Department staff, nor is it a policy that the Police Department applies on

rare occasions. The constitutional violations the Police Department causes under this

policy are not trivial, and they are not highly technical or obscure. The Police Department

is openly jailing people, with no legal recourse, just because they are poor.

       146.   The City Council, City Manager, and Police Chief all know of the Debtors’

Prison Policy. Their failure to train police officers about application of the rights to due

process, equal protection, and counsel following arrest under a capias pro fine warrant

evinces deliberate indifference to the constitutional rights of people held under these

warrants in the Police Chief’s custody.

       147.   In the alternative, the City Council is responsible for failure to promulgate

rules of practice and procedures in the Municipal Court that would remedy the persistent

constitutional violations that result from the Municipal Court’s capias pro fine warrants.

The City Council has the power to stop the Municipal Court from issuing capias pro fine

warrants that purport to authorize unconstitutional jail terms, the power to prohibit jail

terms for convictions entered against people who didn’t have the help of a lawyer, and

the power to require ability to pay hearings before any deprivation of liberty for failure to

pay. Yet the City Council has failed to exercise these policymaking powers in the face of

hundreds of unconstitutional jail terms.




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       D.     Santa Fe’s Municipal Policymakers Implemented the Hungry Man
              Policy

       148.   As described in section II.A above, the Hungry Man Policy is a persistent,

widespread practice of the Santa Fe Police Department, which is so common and well-

settled as to constitute a custom that fairly represents municipal policy.

       149.   The City Council, City Manager, and Police Chief know of the Hungry

Man Policy.

       150.   The City Manager is intimately familiar with the Police Department budget.

The Police Chief reports detailed budget line item justifications to the City Manager, and

the Mayor and City Council approve the budget annually.

       151.   The City of Santa Fe’s projected spending on jail supplies, for the most

recent year for which that statistic is available, was $1500.00 per year. Even if the

entirety of this budget went toward food, Santa Fe limited the total spending on food for

all people in the Chief’s custody to just $4.11 per day. This is only slightly more than the

City’s projected spending on supplies for dogs in the Police Department’s canine unit,

which was $3.84 per day.

       152.   The Police Chief implements the Hungry Man policy. The current Police

Chief, Defendant Chief Powell, was appointed as of August 1, 2016. He was trained in all

aspects of the Hungry Man policy as established by his predecessor, including the diet his

employees feed to people in his custody, and the system (or lack thereof) for ensuring

they receive their food. Since taking command of the Santa Fe Police Department, the

Chief has reviewed other policies and chosen to change at least one policy because it was



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unlawful. The Police Chief knows of the Hungry Man Policy, he has the power to change

it, and he has failed to do so.

          153.   Moreover, the Police Chief allowed a person in his custody to be deprived

of food as recently as mid-August. He knows that the failure to supervise officers and

promulgate policies for feeding people in his custody poses a substantial risk that people

would not be fed at all. The Chief has not changed any aspect of the Hungry Man Policy.

          154.   Even if the City Council, City Manager, and the Police Chief did not have

actual knowledge of the Hungry Man policy, they have constructive knowledge of the

policy.

                 a.     The Hungry Man policy is applied multiple times a day to every

          person locked in the jail.

                 b.     The Hungry Man policy is applied flagrantly. There is no sign that

          Police Department staff do anything to conceal the Hungry Man Policy. The

          Police Chief was explicitly trained in this policy when he was hired. The “meals”

          for people in the Chief’s custody are stored and microwaved in the same area

          where Department staff cook their own food and take breaks. Upper-level

          supervisors have described objections to food deprivation as “nitpicking,” and

          generally defended the current system rather than trying to conceal it.

                 c.     The severe nutritional and caloric deprivation resulting from a daily

          diet of two Pop Tarts and one frozen dinner is obvious, whether or not a

          policymaker takes the time to check the nutritional label. The diet fed to people in

          the Chief’s custody is a starvation diet that provides less than half of the caloric


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        and protein requirements for an adult of any age or sex. For a person who is

        already living on this diet for days, deprivation of even one “meal” is a severe

        deprivation of food that would be apparent to any policymaker fulfilling his

        oversight responsibilities.

               d.     As alleged above, the City Council, City Manager, and Police Chief

        approve spending for prison supplies that barely exceeds spending on supplies for

        the Police Department’s dogs. The Police Chief is aware that at least one person in

        his custody was recently deprived of food.

        155.   Like the Debtors’ Prison Policy, the Hungry Man Policy is not a hush-hush

agreement among lower-level Police Department staff, nor is it a policy that the Police

Department imposes on rare occasions. The constitutional violations the Police

Department causes under this policy are not trivial, and they are not highly technical or

obscure. The Police Chief is not giving people in his custody enough food to stay healthy.

        156.   The City Council, City Manager, and Police Chief all know of the Hungry

Man Policy. By failing to adequately supervise the distribution of food to people in the

Chief’s custody, they are deliberately indifferent to the high risk that people will be

deprived of the minimal civilized measure of life’s necessities.

III.    The City of Santa Fe Has Conspired to Deprive Local Residents of their
        Constitutional Rights

        157.   Through its policymakers, the City of Santa Fe has agreed to use its law

enforcement powers as a means to generate revenue for the City. The City Council, City

Manager, Police Chief, Court Administrator, and Municipal Judge have agreed to deny



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constitutional rights as part of a broader scheme to maximize revenue generation by

coercing people to make payments they cannot afford. These officials have all agreed that

that the purpose of collecting outstanding fines is not to administer justice, but to use

intimidation to generate revenue. These officials have agreed to intimidate people into

making payments by systemically violating their right to due process, right to equal

protection, right to counsel, and right against cruel and unusual punishment.

       158.   The City Council, City Manager, Police Chief, Court Administrator, and

Municipal Judge have had explicit discussions about assessing and enforcing fines to

make up for a budgetary shortfall. Last summer, the City Manager scheduled a meeting

with officials including the Court Administrator and Police Chief to brainstorm ways to

make up for a budgetary shortfall of nearly $650,000.

       159.   Shortly after the meeting about the budgetary shortfall, the Municipal Judge

raised the fines for all tickets written by the Santa Fe Police Department, requiring people

to pay even more money to extricate themselves from cycles of contact with the Santa Fe

criminal justice system. The City Manager knew of this change in advance and had a

conversation with the Court Administrator about whether the City Council would need to

approve it.

       160.   In the year following the meeting about the budgetary shortfall, court clerks

nearly doubled the number of capias pro fine warrants they issued to enforce fines by

authorizing the Santa Fe Police Department to jail people for failure to pay.

       161.   In the year following the meeting about the budgetary shortfall, the

Municipal Court tracked and proudly reported monthly increases in revenue. In one


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month, the court reported increased revenue by 75% over the same month in the previous

year. Court staff also proudly reported that they had improved their collections by placing

more phone calls to people with unpaid fines. During these phone calls, court staff

threaten people with unconstitutional jail terms if they fail to make a payment.

       162.    As a result of the concerted effort among the Municipal Judge, Court

Administrator, City Council, City Manager, and Police Chief, the revenue the Municipal

Court generated for the City increased by $20,045 over the previous year, to a total of

$225,562.

       163.    These are only the most recent steps in furtherance of an ongoing

agreement to deprive people of their constitutional rights as part of a scheme to use the

Municipal Court to generate revenue through intimidation. For years, the Santa Fe Police

Department has jailed hundreds of people under this agreement in violation of their

constitutional rights.

       164.    The City of Santa Fe has long considered revenue generation to be the

function its criminal justice system. Monthly reports from the Court Administrator to the

City Council and City Manager focus exclusively on the court’s capacity for generating

revenue, including the dollar value of fines that were satisfied because the City put the

person who owes the fines in jail.

       165.    The Mayor has personally urged Police Department staff members and the

Municipal Judge to do their part to ensure that people who do not pay their fines are held

in jail, in violation of their right to due process, right to equal protection, and right to

counsel.


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       166.     The Municipal Judge and court staff have agreed to keep cases open, even

when the judge believes that the prosecutor could not prove the allegations, in order to

raise potential revenue streams for the City.

       167.     The Mayor and City Council decided to hire a City Marshal—a position

devoted almost entirely to arresting people for failure to pay their fines—based on a

review of the court’s revenue statistics.

       168.     The City Manager, Mayor, and City Council agree that the Municipal

Court’s primary objectives include “improve court collections” and “continue aggressive

program of serving and collecting warrants.”

       169.     The City of Santa Fe is liable for the unconstitutional jail terms resulting

from this conspiracy among its policymakers to raise revenue at the expense of the

Constitution.

                            CLASS ACTION ALLEGATIONS

       170.     The named Plaintiffs bring this action on behalf of themselves and all

others similarly situated under Rule 23 of the Federal Rules of Civil Procedure. George

West and Robert Jones seek to represent the following Prospective Relief Class:

                       All people who are subject to an open capias pro fine
                       warrant issued by Santa Fe Municipal Court.

And Brady Fuller seeks to represent the following Damages Class:

                       All people confined in the Santa Fe Jail since
                       November 3, 2014, under a capias pro fine warrant
                       resulting from an uncounseled misdemeanor
                       prosecution in Santa Fe Municipal Court.




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Plaintiff George West does not seek to act as a class representative with respect to the

right to counsel claims.

       171.   This action is brought and may properly be maintained as a class action

pursuant to Rule 23(a)(1)-(4) and Rule 23(b)(2) (injunctive and declaratory relief for the

Prospective Relief class) and 23(b)(3) (damages for the damages subclass).

I.     The Proposed Classes Satisfy Rule 23(a)

       172.   Members of the proposed classes are so numerous that joinder is

impracticable. Both classes include well over forty members.

       173.   Joinder is also impracticable because membership in the large proposed

classes is fluid. People enter the proposed classes, and leave the Prospective Relief Class,

every day. Monitoring for these changes, and joining and dismissing plaintiffs repeatedly,

would not be a practical way to manage this litigation.

       174.   The relief sought is common to all members of the proposed classes, and

common questions of law and fact exist as to all members of the classes. Plaintiffs seek

prospective relief from the Debtors’ Prison Policy and the Hungry Man Policy, and

damages for implementation of those policies, on a classwide basis.

       175.   Among the most important, but not the only, common questions of law and

fact are:

              a.     Does the Police Chief jail people in violation of their rights to due

       process, equal protection, counsel, and right against cruel and unusual

       punishment?




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              b.        Did Santa Fe’s Municipal Policymakers conspire with Judge Getty

       to deprive people of their constitutional rights?

              c.        Is the City of Santa Fe liable for violating class members’

       constitutional rights in the past?

              d.        Is prospective relief appropriate to stop the City of Santa Fe, the

       Police Chief, and Judge Getty from violating class members’ constitutional rights

       in the future?

       176.   The named Plaintiffs’ claims are typical of the claims of the proposed class

members, and they have the same interests as all other members of the proposed classes

that they represent. The named Plaintiffs’ claims arise from the same course of conduct

as claims of the proposed classes, and their claims are based on the same legal theories as

those of the proposed classes.

       177.   The named Plaintiffs are adequate representatives of the proposed classes

because they are members of the classes and because their interests coincide with, and are

not antagonistic to, those of the classes.

       178.   The named Plaintiffs are familiar with the City of Santa Fe’s practices

challenged here and the constitutional protections they seek to vindicate. The named

Plaintiffs are prepared to respond to discovery requests in this case. They are committed

to fulfilling the role and duties of a class representative protecting the fundamental

constitutional rights of Santa Fe’s poorest residents.

       179.   The named Plaintiffs are represented by lawyers associated with the

American Civil Liberties Union of Texas. Affidavits from Plaintiffs’ counsel describing


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their qualifications accompany the motion for class certification filed simultaneously with

this complaint.

       180.   The named Plaintiffs and their attorneys will fairly and adequately protect

the interests of the members of the Class.

V.     General Applicability, Rule 23(b)(2)

       181.   Class action status is appropriate because Defendants have acted and

refused to act on grounds generally applicable to the proposed class. The City’s Debtors’

Prison Policy and Hungry Man Policy apply equally to the class regardless of differences

among class members.

       182.   Plaintiffs seek final injunctive and declaratory relief protecting them from

violation of their rights to due process, equal protection, counsel, and freedom from cruel

and unusual punishment.

       183.   Injunctive and declaratory relief with respect to each claim would be

appropriate to the class as a whole. All members of the proposed class are entitled to the

constitutional protections Plaintiffs seek to enforce.

VI.    Predominance and Superiority, Rule 23(b)(3)

       184.   The predominant questions in this case are whether municipal policies

violate the proposed class members’ constitutional rights. This question is susceptible to

generalized, class-wide proof. There is no individualized evidence or legal argument

required to succeed on such a claim.

       185.   A class action is superior to alternative methods of trying individual claims.

In this case, there is no realistic alternative for members of the proposed classes to try


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their claims. As the working poor, people searching for work, and people unable to work

due to disabilities, members of the proposed classes are not likely to be able to invest the

resources necessary to retain an attorney or bring their claims pro se.

                                  CLAIMS FOR RELIEF

                   Count One: Imprisonment for Failure to Pay a Fine
                          in violation of 42 U.S.C. § 1983, and the
              Fourteenth Amendment Due Process and Equal Protection Clauses

                                 Against the City of Santa Fe

       186.     Plaintiffs incorporate by reference allegations in the foregoing paragraphs.

       187.     Plaintiffs bring this claim against the City of Santa Fe on behalf of

themselves and members of the proposed classes.

       188.     Under the Debtors’ Prison Policy, Santa Fe police officers elect to jail

people for failure to pay their fines without a predeprivation inquiry into the reasons for

failure to pay, and without judicial findings that each person willfully refused to pay, that

she failed to make sufficient bona fide efforts to acquire the resources to pay, or that

alternative measures are inadequate to satisfy the state’s interest in punishment. Santa Fe

police officers are not trained to present a person to a judge before imprisonment for

failure to pay, directly resulting in the past violation, and the current high risk of

violation, of Plaintiffs’ and proposed class members’ rights to due process and equal

protection.

       189.     The Debtors’ Prison Policy is a persistent and widespread practice that is so

common and well-settled as to constitute a custom that fairly represents municipal policy.



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The Debtors’ Prison Policy is the moving force behind past violations, and the current

high risk of violation, of Plaintiffs’ and proposed class members’ rights to due process

and equal protection.

       190.   The City is liable because the City Council, City Manager, and the Police

Chief, all know of the Debtors’ Prison Policy. They have conspired with the Municipal

Judge to violate Plaintiffs’ and proposed class members’ rights to due process and equal

protection. Their failure to require officer training in ability to pay hearings evinces

deliberate indifference to Plaintiffs’ and proposed class members’ rights to due process

and equal protection.

       191.   In the alternative, the City Council failed to promulgate policies to correct

the Municipal Judge’s persistent and widespread authorization of jail terms for failure to

pay, without a predeprivation inquiry into the reasons for failure to pay, and without any

of the necessary judicial findings, in violation of Plaintiffs’ and proposed class members’

rights to due process and equal protection.

       192.   In the absence of prospective relief, Prospective Relief Class members are

likely to be jailed in violation of their rights to due process and equal protection. On

behalf of themselves and the Prospective Relief Class, Plaintiffs George West and Robert

Jones seek declaratory and injunctive relief against the City of Santa Fe.

       193.   On behalf of himself and the Damages Class, Brady Fuller seeks damages

against the City of Santa Fe.




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                             Count Two: Denial of Counsel
                           in violation of 42 U.S.C. § 1983, the
                    Sixth Amendment Right to Counsel Clause, and the
                        Fourteenth Amendment Due Process Clause

                                 Against the City of Santa Fe

       194.   Plaintiffs incorporate by reference allegations in the foregoing paragraphs.

       195.   Plaintiffs Robert Jones and Brady Fuller bring this claim against the City of

Santa Fe, on behalf of themselves and members of the proposed classes.

       196.   Under the Debtors’ Prison Policy, Santa Fe police officers elect to jail

people as a result of their uncounseled misdemeanor convictions. The officers make no

attempt to inform people of their right to counsel, take steps to appoint counsel, or elicit a

knowing, voluntary, and intelligent waiver of the right to counsel. Santa Fe police

officers are not trained in application of the right to counsel in the misdemeanor context,

directly resulting in a high risk that Plaintiffs and proposed class members will be jailed

in violation of their right to counsel.

       197.   The Debtors’ Prison Policy is a persistent and widespread practice among

the Santa Fe Police Department that is so common and well-settled as to constitute a

custom that fairly represents municipal policy. The Debtors’ Prison Policy is the moving

force behind the high risk that Plaintiffs and proposed class members will be jailed in

violation of their right to counsel.

       198.   The City is liable because the City Council, City Manager, and Police Chief

all know of the Debtors’ Prison Policy. They have conspired with the Municipal Judge to

violate Plaintiffs’ and proposed class members’ right to counsel. Their failure to require



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officer training in the right to counsel evinces deliberate indifference to Plaintiffs’ and

proposed class members’ right to counsel.

       199.    In the alternative, the City Council failed to promulgate policies to correct

the Municipal Judge’s persistent and widespread authorization of jail terms for

uncounseled misdemeanor convictions.

       200.    In the absence of prospective relief, Plaintiffs and proposed class members

are likely to be jailed in violation of their right to counsel.

       201.    On behalf of himself and the Prospective Relief class, Robert Jones seeks

declaratory and injunctive relief against the City of Santa Fe.

       202.    On behalf of himself and the Damages Class, Brady Fuller seeks damages

against the City of Santa Fe.

                            Count Three: Unlawful Detention
                         in violation of 42 U.S.C. § 1983, and the
                        Fourteenth Amendment Due Process Clause

                                 Against the City of Santa Fe

       203.    Plaintiffs incorporate by reference allegations in the foregoing paragraphs.

       204.    Plaintiffs bring this claim against the City of Santa Fe, on behalf of

themselves and members of the proposed classes.

       205.    Under the Debtors’ Prison Policy, Santa Fe police officers jail people in the

absence of a facially valid court order or any other legal authority. Officers elect to jail

people under a capias pro fine warrant, even if it is possible to bring the person before an

appropriate court. Officers also elect jail people for longer than the next business day

after their arrest, if necessary to discharge their outstanding fines. Santa Fe police officers


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are not trained in the legal limits on liberty deprivation under a capias pro fine warrant,

directly resulting in past violations, and the current high risk of violation, of Plaintiffs’

and proposed class members’ due process right against unlawful detention.

       206.   The Debtors’ Prison Policy is a persistent and widespread practice among

the Santa Fe Police Department that is so common and well-settled as to constitute a

custom that fairly represents municipal policy. The Debtors’ Prison Policy is the moving

force behind the past violation, and the current high risk of violation, of Plaintiffs’ and

proposed class due process right against unlawful detention.

       207.   The City Council, City Manager, and Police Chief all know of the Debtors’

Prison Policy. They have conspired with Judge Getty to violate Plaintiffs’ and proposed

class members’ due process right against unlawful detention. Their failure to require

officer training in the scope of the liberty deprivation authorized by a capias pro fine

warrant evinces deliberate indifference to Plaintiffs and proposed class members’ due

process right against unlawful detention.

       208.   In the alternative, the City Council failed to promulgate policies to correct

the Municipal Judge’s persistent and widespread authorization of jail terms for

uncounseled misdemeanor convictions.

       209.   In the absence of prospective relief, Plaintiffs and Prospective Relief Class

members are likely to be jailed without lawful authority in violation of their right to due

process.

       210.   On behalf of themselves and the Prospective Relief Class, George West and

Robert Jones seek declaratory and injunctive relief against the City of Santa Fe.


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       211.   On behalf of himself and the Damages Class, Brady Fuller seeks damages

against the City of Santa Fe.

                 Count Four: Depriving Prisoners of Adequate Food
                          in violation of 42 U.S.C. § 1983, the
               Eighth Amendment Cruel and Unusual Punishments Clause,
                   and the Fourteenth Amendment Due Process Clause

                                Against the City of Santa Fe

       212.   Plaintiffs incorporate by reference allegations in the foregoing paragraphs.

       213.   Plaintiffs bring this claim against the City of Santa Fe on behalf of

themselves and members of the proposed classes.

       214.   Under the Hungry Man Policy, Santa Fe police officers feed people a

calorically and nutritionally inadequate diet. The Police Chief has not promulgated any

policies to ensure that someone actually gives people in his custody the small amount of

food that he allocates for them to eat. The Police Chief has failed to supervise whether his

staff feed people in his custody, directly resulting in past violations, and the current high

risk of violation, of Plaintiffs’ and proposed class members’ rights against cruel and

unusual punishment.

       215.   The Hungry Man Policy is a persistent and widespread practice among the

Santa Fe Police Department that is so common and well-settled as to constitute a custom

that fairly represents municipal policy. The Hungry Man Policy is the moving force

behind the past violation, and the current high risk of violation, of Plaintiffs’ and

proposed class members’ right against cruel and unusual punishment.




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       216.     The City Council, City Manager, and Police Chief all know of the Hungry

Man Policy. Their failure to supervise staff to monitor whether someone feeds people in

the Chief’s custody evinces deliberate indifference to Plaintiffs’ and proposed class

members’ right against cruel and unusual punishment.

       217.     In the absence of prospective relief, Plaintiffs and proposed class members

are likely to be subjected to cruel and unusual punishment.

       218.     On behalf of themselves and the Prospective Relief Class, Plaintiffs George

West and Robert Jones seek declaratory and injunctive relief against the City of Santa Fe.

       219.     On behalf of himself and the damages subclass, Plaintiff Brady Fuller seeks

damages against the City of Santa Fe.

                   Count Five: Imprisonment for Failure to Pay a Fine
                          in violation of 42 U.S.C. § 1983, and the
              Fourteenth Amendment Due Process and Equal Protection Clauses

                             Against Police Chief Jeffrey Powell

       220.     Plaintiffs incorporate by reference allegations in the foregoing paragraphs.

       221.     Plaintiffs George West and Robert Jones bring this claim against Chief

Powell on behalf of themselves and members of the Prospective Relief Class.

       222.     Under the Debtors’ Prison Policy, Santa Fe police officers elect to jail

people for failure to pay their fines without a predeprivation inquiry into the reasons for

failure to pay, and without judicial findings that each person willfully refused to pay, that

she failed to make sufficient bona fide efforts to acquire the resources to pay, or that

alternative measures are inadequate to satisfy the state’s interest in punishment. Santa Fe



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police officers are not trained to present a person to a judge before imprisonment for

failure to pay, directly resulting in the past violation, and the current high risk of

violation, of Plaintiffs’ and proposed class members’ rights to due process and equal

protection.

       223.   Chief Powell knows of the Debtors’ Prison Policy, he has the power to

change the Debtors’ Prison Policy, and he has failed to do so. There is a significant causal

connection between this omission and the high risk that Plaintiffs and proposed class

members will be jailed in violation of their rights to due process and equal protection.

       224.   Chief Powell has conspired with the Municipal Judge to violate Plaintiffs’

and proposed class members’ rights to due process and equal protection.

       225.   Chief Powell has failed to require officer training in ability to pay hearings,

evincing deliberate indifference to Plaintiffs’ and proposed class members’ rights to due

process and equal protection.

       226.   In the absence of prospective relief, Prospective Relief Class members are

likely to be jailed in violation of their rights to due process and equal protection. On

behalf of themselves and the Prospective Relief Class, George West and Robert Jones

seek declaratory and injunctive relief against Chief Powell.

                              Count Six: Denial of Counsel
                           in violation of 42 U.S.C. § 1983, the
                    Sixth Amendment Right to Counsel Clause, and the
                        Fourteenth Amendment Due Process Clause

                            Against Police Chief Jeffrey Powell

       227.   Plaintiffs incorporate by reference allegations in the foregoing paragraphs.



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       228.    Plaintiff Robert Jones brings this claim against Chief Powell on behalf of

herself and members of the Prospective Relief Class.

       229.    Under the Debtors’ Prison Policy, Santa Fe police officers elect to jail

people as a result of their uncounseled misdemeanor convictions. The officers make no

attempt to inform people of their right to counsel, take steps to appoint counsel, or elicit a

knowing, voluntary, and intelligent waiver of the right to counsel. Santa Fe police

officers are not trained in application of the right to counsel in the misdemeanor context,

directly resulting in a high risk that Plaintiffs and proposed class members will be jailed

in violation of their right to counsel.

       230.    Defendant Chief Powell knows of the Debtors’ Prison Policy, he has the

power to change the Debtors’ Prison Policy, and he has failed to do so. There is a

significant causal connection between this omission and the high risk that Plaintiffs and

proposed class members will be jailed in violation of their right to counsel.

       231.    Defendant Chief Powell has conspired with the Municipal Judge to violate

Plaintiffs’ and proposed class members’ right to counsel.

       232.    Defendant Chief Powell has failed to require officer training in the right to

counsel for people arrested under capias pro fine warrants, evincing deliberate

indifference to Plaintiffs’ and proposed class members’ right to counsel.

       233.    In the absence of prospective relief, Prospective Relief Class members are

likely to be jailed in violation of their right to counsel.

       234.    On behalf of himself and the Prospective Relief class, Plaintiff Robert

Jones seeks declaratory and injunctive relief against Chief Powell.


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                            Count Seven: Unlawful Detention
                         in violation of 42 U.S.C. § 1983, and the
                        Fourteenth Amendment Due Process Clause

                             Against Police Chief Jeffrey Powell

       235.   Plaintiffs incorporate by reference allegations in the foregoing paragraphs.

       236.   Plaintiffs George West and Robert Jones bring this claim against Chief

Powell, on behalf of themselves and members of the Prospective Relief Class.

       237.   Under the Debtors’ Prison Policy, Santa Fe police officers jail people in the

absence of a facially valid court order or any other legal authority. Officers elect to jail

people under a capias pro fine warrant, even if it is possible to bring the person before an

appropriate court. Officers also elect jail people for longer than the next business day

after their arrest, if necessary to discharge their outstanding fines. Santa Fe police officers

are not trained in the legal limits on liberty deprivation under a capias pro fine warrant,

directly resulting in past violations, and the current high risk of violation, of Plaintiffs’

and proposed class members’ due process right against unlawful detention.

       238.   Defendant Chief Powell knows of the Debtors’ Prison Policy, he has the

power to change the Debtors’ Prison Policy, and he has failed to do so. There is a

significant causal connection between this omission and the high risk that Plaintiffs and

proposed class members will be jailed in violation of their right to due process.

       239.   Defendant Chief Powell has conspired with the Municipal Judge to violate

Plaintiffs’ and proposed class members’ right to due process.




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       240.   Defendant Chief Powell has failed to require officer training about the

scope of the liberty deprivation authorized by a capias pro fine warrant, evincing

deliberate indifference to Plaintiffs’ and proposed class members’ right to due process.

       241.   In the absence of prospective relief, Prospective Relief Class members are

likely to be jailed without lawful authority in violation of their right to due process.

       242.   On behalf of themselves and the Prospective Relief Class, George West and

Robert Jones seek declaratory and injunctive relief Chief Powell.

                Count Eight: Failure to Give Prisoners Adequate Food
                           in violation of 42 U.S.C. § 1983, the
                Eighth Amendment Cruel and Unusual Punishments Clause,
                    and the Fourteenth Amendment Due Process Clause

                            Against Police Chief Jeffrey Powell

       243.   Plaintiffs incorporate by reference allegations in the foregoing paragraphs.

       244.   Plaintiffs George West and Robert Jones bring this claim against Chief

Powell on behalf of themselves and members of the Prospective Relief Class.

       245.   Under the Hungry Man Policy, Santa Fe police officers feed people a

calorically and nutritionally inadequate diet. Chief Powell has not promulgated any

policies to ensure that someone actually gives people in his custody the small amount of

food that he allocates for them to eat. Chief Powell has failed to supervise whether his

staff feed people in his custody, directly resulting in past violations, and the current high

risk of violation, of Plaintiffs’ and proposed class members’ right against cruel and

unusual punishment.




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       246.     Defendant Chief Powell knows of the Hungry Man Policy, he has the

power to change the Hungry Man Policy, and he has failed to do so. There is a significant

causal connection between this omission and the high risk that Plaintiffs and proposed

class members will be jailed in violation of their right against cruel and unusual

punishment.

       247.     In the absence of prospective relief, Prospective Relief Class members are

likely to be subjected to cruel and unusual punishment.

       248.     On behalf of themselves and the Prospective Relief Class, George West and

Robert Jones seek declaratory and injunctive relief against Chief Powell.

                   Count Nine: Imprisonment for Failure to Pay a Fine
                          in violation of 42 U.S.C. § 1983, and the
              Fourteenth Amendment Due Process and Equal Protection Clauses

                           Against Municipal Judge Carlton Getty

       249.     Plaintiffs incorporate by reference allegations in the foregoing paragraphs.

       250.     Plaintiffs George West and Robert Jones bring this claim against Judge

Getty, on behalf of themselves and members of the Prospective Relief Class, for

declaratory relief only.

       251.     Defendant Judge Getty has instructed court clerks to issue, under his

signature, capias pro fine warrants that purport to authorize a jail term for failure to pay a

fine. Under Judge Getty’s instructions, these warrants issue without a predeprivation

inquiry into the reasons for failure to pay, and without a finding that each person willfully

refused to pay, that she failed to make sufficient bona fide efforts to acquire the resources



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to pay, or that alternative measures would be inadequate to satisfy the state’s interest in

punishment. Judge Getty’s actions thus result in the high risk that Plaintiffs and proposed

class members will be jailed in violation of their right to due process and equal

protection.

       252.   In the absence of prospective relief, Prospective Relief Class members are

likely to be jailed in violation of their rights to due process and equal protection.

       253.   On behalf of themselves and the Prospective Relief Class, George West and

Robert Jones seek declaratory relief against Judge Getty.

                              Count Ten: Denial of Counsel
                           in violation of 42 U.S.C. § 1983, the
                    Sixth Amendment Right to Counsel Clause, and the
                        Fourteenth Amendment Due Process Clause

                          Against Municipal Judge Carlton Getty

       254.   Plaintiffs incorporate by reference allegations in the foregoing paragraphs.

       255.   Plaintiff Robert Jones brings this claim against Judge Getty, on behalf of

herself and members of the Prospective Relief Class, for declaratory relief only.

       256.   Defendant Judge Getty has instructed court clerks to issue, under his

signature, capias pro fine warrants that purport to authorize a jail term resulting from an

unreliable uncounseled misdemeanor conviction. Judge Getty’s actions thus result in the

high risk that Plaintiffs and proposed class members will be jailed in violation of their

right to counsel.

       257.   In the absence of prospective relief, Plaintiffs and Prospective Relief Class

members are likely to be jailed in violation of their right to counsel.



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       258.   On behalf of himself and the Prospective Relief Class, Robert Jones seeks

declaratory relief against Judge Getty.

                              Count Eleven: Unlawful Detention
                            in violation of 42 U.S.C. § 1983, and the
                           Fourteenth Amendment Due Process Clause

                             Against Municipal Judge Carlton Getty

       259.   Plaintiffs incorporate by reference allegations in the foregoing paragraphs.

       260.   Plaintiffs George West and Robert Jones bring this claim against Judge

Getty, on behalf of themselves and members of the Prospective Relief Class, for

declaratory relief only.

       261.   Defendant Judge Getty has instructed court clerks to issue, under his

signature, capias pro fine warrants that purport to authorize officers to jail people for

failure to pay a fine, without bringing them before a judge as required by Texas law.

Judge Getty’s actions thus result in the high risk that Plaintiffs and proposed class

members will be jailed in violation of their right to due process.

       262.   In the absence of prospective relief, Prospective Relief Class members are

likely to be jailed in violation of their right to due process.

       263.   On behalf of themselves and the Prospective Relief Class, George West and

Robert Jones seek declaratory relief against Judge Getty.

                                   JURY TRIAL DEMAND

       264.   Plaintiffs demand a trial by jury.




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                               REQUEST FOR RELIEF

WHEREFORE, Plaintiffs request that this Court issue the following relief:

      1.     An order certifying the proposed classes;

      2.     An injunction prohibiting the City of Santa Fe and Chief Powell from

executing a capias pro fine warrant against any class member:

                    a.     who has not received a predeprivation hearing inquiring into

             her reasons for failure to pay, and judicial findings that she has willfully

             refused to pay, that she has failed to make sufficient bona fide efforts to

             acquire the resources to pay, or that alternative measures are inadequate to

             satisfy the state’s interest in punishment; or

                    b.     who was not represented by counsel at every critical stage of

             her underlying Class C misdemeanor prosecution, and did not knowingly,

             voluntarily, and intelligently waive her right to counsel; and, in any case,

                    c.      without providing her with sufficient calories and nutrition,

             in accordance with a plan approved by this Court;

      3.     A declaration that, by authorizing or carrying out a class member’s arrest or

detention for failure to pay a judgment issued by the Santa Fe Municipal Court, the City

of Santa Fe, Judge Getty, and Chief Powell:

                    a.     violate a class member’s Fourteenth Amendment rights to due

             process and equal protection, if the class member has not received a

             predeprivation hearing inquiring into her reasons for failure to pay, and

             judicial findings that she has willfully refused to pay, that she has failed to


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              make sufficient bona fide efforts to acquire the resources to pay, or that

              alternative measures are inadequate to satisfy the state’s interest in

              punishment;

                     b.     violate a class member’s Sixth Amendment right to counsel

              and Fourteenth Amendment right to due process, if the class member was

              not represented by counsel at every critical stage of her underlying Class C

              misdemeanor prosecution and in her ability to pay hearing, and she did not

              knowingly, voluntarily, and intelligently waive that right;

                     c.     violate a class member’s Fourteenth Amendment right to due

              process by authorizing or carrying out execution of a capias pro fine

              warrant in a manner unauthorized by law; and

                     d.     violate a class member’s Eighth Amendment right against

              cruel and unusual punishment, by feeding her a diet that is nutritionally and

              calorically insufficient, and by failing to supervise employees to ensure that

              she is fed;

       4.     A judgment that the City of Santa Fe is liable to the Damages Class in an

amount to be determined at trial, including special damages for lost wages, childcare, late

fees on bills, vehicle impoundment costs, and other collateral consequences of

incarceration; and general damages, or, in the alternative, nominal damages;

       5.     A judgment that Defendants are liable for reasonable attorneys’ fees and

costs pursuant to 42 U.S.C. § 1988; and




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 6.    Any other relief this Court deems just and proper.


                                  Respectfully Submitted,

                       By:        /s/ Trisha Trigilio

                                  Trisha Trigilio
                                  Attorney-in-charge
                                  State Bar No. 24065179
                                  S.D. Tex. Bar No. 2461809
                                  Rebecca Robertson
                                  State Bar No. 00794542
                                  S.D. Tex. Bar No. 20061
                                  ACLU of Texas
                                  1500 McGowen Street, Suite 250
                                  Houston, Texas 77004
                                  Phone 713.942.8146
                                  Fax 713.942.8966
                                  ttrigilio@aclutx.org
                                  rrobertson@aclutx.org




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